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9                             UNITED STATES DISTRICT COURT
10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                  WESTERN DIVISION
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      EBONY BALLARD,                              Case No. CV-20-02679 MCS (Ex)
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                 Plaintiff,
14                                                [PROPOSED] ORDER GRANTING
                        v.                        DEFENDANT’S MOTION IN LIMINE
15                                                TO EXCLUDE, OR IN THE
16    LOUIS DEJOY, Postmaster General of          ALTERNATIVE LIMIT, THE
      the United States of America,               TESTIMONY OF DELORES
17                                                FRACTIOUS
                 Defendant.
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                                                  Honorable Mark C. Scarsi
20                                                United States District Judge
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     Case 2:20-cv-02679-MCS-E Document 37-3 Filed 05/03/21 Page 2 of 2 Page ID #:984




1           Having considered Defendant’s Motion in Limine, the Memorandum of Points
2     and Authorities, the evidence presented therein, the Opposition and Reply briefs filed
3     thereto:
4           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Defendant’s
5     Motion is granted and the testimony of Delores Fractious is excluded.
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7           IT IS SO ORDERED.
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10    DATED: __________________, 2021
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14                                                 ________________________________
15                                                 HONORABLE MARK C. SCARSI
                                                   UNITED STATES DISTRICT JUDGE
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